                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION


MARY JACKSON                     )               CIVIL ACTION NO.
                                 )
                 Plaintiff,      )
                                 )               COMPLAINT
      vs.                        )
                                 )
PMAB, LLC; and                   )
MICHAEL H. COFFEY                )               JURY TRIAL DEMAND
                                 )
                 Defendants.     )
_________________________________)

                               NATURE OF ACTION

       1.      This is an action brought under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and the North Carolina Collection

Agency Act (“NCCAA”), N.C. Gen. Stat. § 58-70-90 et seq., and alternatively, the

North Carolina Debt Collection Act (“NCDCA”), N.C. Gen. Stat § 75-50 et seq.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d), 28 U.S.C. §

1331, and 28 U.S.C. § 1367(a).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants’ transact

business in this district.

                                    PARTIES


                                         1

   Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 1 of 17
       4.     Plaintiff, Mary Jackson (“Plaintiff”), is a natural person who at all

relevant times resided in the State of North Carolina, County of Caldwell, and City

of Lenoir.

       5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), N.C.

Gen. Stat. § 58-70-90(2), and N.C. Gen. Stat. § 75-50(1).

       6.     Defendant, PMAB, LLC (“PMAB”) is an entity which all relevant

times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5),

N.C. Gen. Stat. § 58-70-90(3), and N.C. Gen. Stat. § 75-50(2).

       7.     PMAB is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       8.     PMAB is a “collection agency” as defined by N.C. Gen. Stat. § 58-

70-90(1).

       9.     Alternatively, PMAB is a “debt collector” as defined by N.C. Gen.

Stat. § 75-50(3).

       10.    Defendant, Michael H. Coffey (“Mr. Coffey”) is an individual who

at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §

1692a(5), N.C. Gen. Stat. § 58-70-90(3), and N.C. Gen. Stat. § 75-50(2).

       11.    Through his oversight and control of the day-to-day operations of

PMAB, Mr. Coffey played a key role in maintaining and expanding PMAB’s debt

collection activities during the events relevant to this action.



                                           2

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 2 of 17
       12.     Mr. Coffey exercised control over the affairs of PMAB and regularly

engaged, directly and indirectly, in the collection of debts.

       13.     Mr. Coffey directly and/or indirectly participated in the collection

activities of PMAB.

       14.     As manager, Mr. Coffey exercised significant control over the affairs

of a debt collection business through PMAB and was at all relevant times engaged,

directly or indirectly, in the collection of debts through involvement in the affairs

of PMAB.

       15.     Mr. Coffey materially participated in collecting or attempting to

collect, directly or indirectly, debts once owed or due, or asserted to be once owed

or due another, by occupying a position or positions with PMAB of critical

importance.

       16.     Mr. Coffey is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       17.     Mr. Coffey is a “collection agency” as defined by N.C. Gen. Stat. §

58-70-15(a).

       18.     Alternatively, Mr. Coffey is a “debt collector” as defined by N.C.

Gen. Stat. § 75-50(3).

                           FACTUAL ALLEGATIONS

       19.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt once owed or due, or asserted to be once owed or due a creditor other than

PMAB.

       20.     Plaintiff’s obligation, or alleged obligation, once owed or due, or

                                           3

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 3 of 17
asserted to be owed or due a creditor other than PMAB, arises from a transaction

in which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes.

       21.    Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       22.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on December 27, 2011 at 12:23 p.m. and, at such

time, PMAB left the following voicemail message: “This call is from PMAB,

LLC. Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

AB8039.”

       23.    In its voicemail message left at 12:23 p.m. on December 27, 2011,

PMAB failed to notify Plaintiff that the communication was from a debt collector.

       24.    In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message left at 12:23 p.m. on

December 27, 2011.

       25.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on December 27, 2011 at 2:07 p.m. and, at such

time, PMAB left the following voicemail message: “This call is from PMAB,

LLC. Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

                                         4

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 4 of 17
personal business matter. When calling please use the following reference number:

AB8039.”

      26.    In its voicemail message left at 2:07 p.m. on December 27, 2011,

PMAB failed to notify Plaintiff that the communication was from a debt collector.

      27.    In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message left at 2:07 p.m. on

December 27, 2011.

      28.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on December 28, 2011 at 1:03 p.m. and, at such

time, PMAB left the following voicemail message: “This call is from PMAB,

LLC. Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

AB8039.”

      29.    In its voicemail message of December 28, 2011, PMAB failed to

notify Plaintiff that the communication was from a debt collector.

      30.    In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message of December 28, 2011.

      31.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on January 4, 2012 at 2:50 p.m. and, at such time,

PMAB left the following voicemail message: “This call is from PMAB, LLC.

Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

                                         5

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 5 of 17
AB8039.”

      32.    In its voicemail message of January 4, 2012, PMAB failed to notify

Plaintiff that the communication was from a debt collector.

      33.    In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message of January 4, 2012.

      34.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on January 18, 2012 at 12:55 p.m. and, at such time,

PMAB left the following voicemail message: “This call is from PMAB, LLC.

Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

AB8039.”

      35.    In its voicemail message of January 18, 2012, PMAB failed to notify

Plaintiff that the communication was from a debt collector.

      36.    In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message of January 18, 2012.

      37.    In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on January 24, 2012 at 6:15 p.m. and, at such time,

PMAB left the following voicemail message: “This call is from PMAB, LLC.

Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

AB8039.”

       38.   In its voicemail message of January 24, 2012, PMAB failed to notify

                                         6

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 6 of 17
Plaintiff that the communication was from a debt collector.

        39.      In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message of January 24, 2012.

        40.      In connection with collection of an alleged debt in default, PMAB

called Plaintiff’s home phone on January 30, 2012 at 5:15 p.m. and, at such time,

PMAB left the following voicemail message: “This call is from PMAB, LLC.

Please contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a

personal business matter. When calling please use the following reference number:

AB8039.”

        41.      In its voicemail message of January 30, 2012, PMAB failed to notify

Plaintiff that the communication was from a debt collector.

        42.      In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in its voicemail message of January 30, 2012.

        43.      On January 30, 2012, Plaintiff’s counsel mailed to PMAB written

correspondence dated January 24, 2012, which stated that Plaintiff was

represented by counsel.

        44.      Upon information and good-faith belief, PMAB received Plaintiff’s

counsel’s written correspondence dated January 24, 2012 on or about February 2,

2012.

        45.      In connection with the collection of an alleged debt in default,

PMAB contacted Plaintiff directly at the following dates and times:

              1) February 9, 2012 at 4:25 p.m.;

                                           7

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 7 of 17
             2) February 15, 2012 at 11:12 a.m.;

             3) February 22, 2012 at 12:45 p.m.;

             4) February 29, 2012;

             5) March 7, 2012 at 2:56 p.m.;

             6) March 15, 2012 at 3:46 p.m.

       46.      At these dates and times, PMAB left the following voicemail

message on Plaintiff’s home phone: “This call is from PMAB, LLC. Please

contact us at 704-553-7146 or toll free at 1-800-849-0088 regarding a personal

business matter. When calling please use the following reference number:

AB8039.”

       47.      In these voicemail messages, PMAB failed to notify Plaintiff that the

communication was from a debt collector.

       48.      In failing to disclose that PMAB is a debt collector, PMAB failed to

meaningfully disclose its identity in these voicemail messages.

       49.      PMAB did not attempt to contact Plaintiff’s counsel prior to

contacting Plaintiff directly.

       50.      Plaintiff’s counsel did not fail to respond to any communications

from PMAB.

       51.      Neither Plaintiff nor Plaintiff’s counsel provided PMAB consent to

contact Plaintiff directly.

       52.      Defendants’ actions constitute conduct highly offensive to a

reasonable person.

                                           8

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 8 of 17
                                 COUNT I
                       VIOLATION OF 15 U.S.C. § 1692d(6)

       53.      Plaintiff repeats and re-alleges each and every allegation above.

       54.      PMAB violated 15 U.S.C. § 1692d(6) by placing telephone calls

without meaningfully disclosing the caller’s identity.

       55.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k, in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                may be allowed under the law;

             f) Awarding such other and further relief as the Court may deem just


                                           9

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 9 of 17
                and proper.

                                 COUNT II
                       VIOLATION OF 15 U.S.C. § 1692e(11)

       56.      Plaintiff repeats and re-alleges each and every allegation above.

       57.      PMAB violated 15 U.S.C. § 1692e(11) by failing to disclose in

every communication to Plaintiff that the communication was from a debt

collector.

       58.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated 15 U.S.C. § 1692e(11);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k, in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as


                                           10

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 10 of 17
                may be allowed under the law;

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                               COUNT III
                     VIOLATION OF 15 U.S.C. § 1692c(a)(2)

       59.      Plaintiff repeats and re-alleges each and every allegation above.

       60.      PMAB violated 15 U.S.C. § 1692c(a)(2) by communicating directly

with Plaintiff in connection with the collection of an alleged debt where PMAB

knew Plaintiff was represented by an attorney.

       61.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated 15 U.S.C. § 1692c(a)(2);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k, in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in


                                           11

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 11 of 17
                this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                may be allowed under the law;

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                              COUNT IV
                VIOLATION OF N.C. GEN. STAT. § 58-70-110(2)

       62.      Plaintiff repeats and re-alleges each and every allegation above.

       63.      PMAB violated N.C. Gen. Stat. § 58-70-110(2) by failing to disclose

in subsequent communications that the communication is from a debt collector.

       64.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated N.C. Gen. Stat. § 58-70-110(2);

             b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 58-

                70-130(a);

             c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.


                                           12

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 12 of 17
                Gen. Stat. § 58-70-130(b);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action, pursuant to N.C. Gen. Stat. § 75-16.1;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                may be allowed under the law;

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                                COUNT V
                   VIOLATION OF N.C. GEN. STAT. § 75-54(2)

       65.      Plaintiff repeats and re-alleges each and every allegation above.

       66.      Alternatively, PMAB violated N.C. Gen. Stat. § 75-54(2) by failing

disclose in all communications with Plaintiff that the purpose of the

communication was to collect a debt.

       67.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated N.C. Gen. Stat. § 75-54(2);


                                             13

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 13 of 17
               b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 75-

                  56(b)(i);

               c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                  Gen. Stat. § 75-56(b)(ii);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action, pursuant to N.C. Gen. Stat. § 75-16.1;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                COUNT VI
                  VIOLATION OF N.C. GEN. STAT. § 58-70-115(3)

         68.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         69.      PMAB violated N.C. Gen. Stat. § 58-70-115(3) by communicating

with Plaintiff when PMAB had been notified by Plaintiff’s attorney that Plaintiff

was represented.

         70.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day

management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of


                                               14

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 14 of 17
Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendants violated N.C. Gen. Stat. § 58-70-115(3);

             b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 58-

                70-130(a);

             c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                Gen. Stat. § 58-70-130(b);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action, pursuant to N.C. Gen. Stat. § 75-16.1;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                may be allowed under the law;

             f) Awarding such other and further relief as the Court may deem just

                and proper.

                               COUNT VII
                   VIOLATION OF N.C. GEN. STAT. § 75-55(3)

       71.      Plaintiff repeats and re-alleges each and every allegation above.

       72.      Alternatively, PMAB violated N.C. Gen. Stat. § 75-55(3) by

communicating with Plaintiff when PMAB had been notified by Plaintiff’s

attorney that Plaintiff was represented.

       73.      Mr. Coffey is personally liable for PMAB’s conduct, absent the need

to pierce the corporate veil, as a result of his involvement in the day-to-day


                                             15

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 15 of 17
management of PMAB’s debt collection business, his responsibility for day-to-day

supervision of PMAB’s debt collector employees, his personal involvement in the

collection of Plaintiff’s alleged debt, his material involvement in the collection of

Plaintiff’s alleged debt, and his exercise of control over the affairs of PMAB’s

debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

          a) Adjudging that Defendants violated N.C. Gen. Stat. § 75-55(3);

          b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 75-

              56(b)(i);

          c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

              Gen. Stat. § 75-56(b)(ii);

          d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

              this action, pursuant to N.C. Gen. Stat. § 75-16.1;

          e) Awarding Plaintiff any pre-judgment and post-judgment interest as

              may be allowed under the law;

          f) Awarding such other and further relief as the Court may deem just

              and proper.




                                           16

  Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 16 of 17
                            TRIAL BY JURY

    74.   Plaintiff is entitled to and hereby demands a trial by jury.


    DATED this 27th day of March, 2012.

                                       Respectfully submitted,

                                       /s/ Holly E. Dowd
                                       Holly E. Dowd (N.C. Bar No. 37533)
                                       Weisberg & Meyers, LLC
                                       409A Wakefield Dr.
                                       Charlotte, NC 28209
                                       (888) 595-9111 ext. 260
                                       (866) 565-1327 (fax)
                                       hdowd@attorneysforconsumers.com

                                       ATTORNEYS FOR PLAINTIFF

                             Please send correspondence to the address below

                                       Holly E. Dowd
                                       Weisberg & Meyers, LLC
                                       5025 N. Central Ave. #602
                                       Phoenix, AZ 85012




                                     17

Case 5:12-cv-00035-RLV-DCK Document 1 Filed 03/27/12 Page 17 of 17
